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                        IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF WYOMING


TIMOTHY VASQUEZ and KENDRA
VASQUEZ, husband and wife,

                  Plaintiffs,

vs.                                                 CaseNo.ZZ-TV- l_9&-^ ^
BAKER HUGHES ENERGY
SERVICES LLC,
BAKER HUGHES OILFIELD
OPERATIONS LLC and
JOHN DOES 1-5,

                  Defendants.



                                 COMPLAINT AND JURY DEMAND



        Plaintiffs, Timothy and Kendra Vasquez (hereinafter "Tim," "Kendra,'* or

"Plaintiffs**), allege:
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